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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

LARGE AUDIENCE DISPLAY                        §
SYSTEMS LLC,                                  §
     Plaintiff,                               §
                                              §
vs.                                           § Civil Action No. 2:09-CV-356 (TJW-CE)
                                              §
TENNMAN PRODUCTIONS, LLC,                     §
JUSTIN TIMBERLAKE,                            §
LOS ANGELES LAKERS, INC.,                     §
BRITNEY TOURING, INC.,                        §
BRITNEY SPEARS and                            §
PUSSYCAT DOLLS, LLC,                          §
      Defendants.                             §

                        CORPORATE DISCLOSURE STATEMENT

       Defendants,     Tennman      Productions,      LLC   (“Tennman”),     Justin   Timberlake

(“Timberlake”), Britney Touring, Inc. (“BTI”) and James P. Spears and Andrew Wallet as Co-

Conservators of the Estate of Britney Jean Spears, on behalf of Defendant Britney Spears Britney

Spears (“Spears”) (collectively, “Defendants”), as and for their Statement pursuant to Rule 7.1 of

the Federal Rules of Civil Procedure, state that:

         1.     Tennman Productions is not publicly traded and has no parent corporation.

         2.     Defendant Britney Touring, Inc. is not publicly traded and has no parent

 corporation.

Dated: March 12, 2010                         Respectfully submitted,

                                              PRYOR CASHMAN LLP

                                              /s/ Andrew S. Langsam (with permission by Charles
                                              Ainsworth
                                              Andrew S. Langsam – PHV
                                              Barry E. Negrin – PHV
                                              Sarah E. Bell – PHV
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                                              New York, New York 10036-6569


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                                           Attorneys for Defendants Tennman Productions,
                                           LLC, Justin Timberlake, Britney Touring, Inc. and
                                           James P. Spears and Andrew Wallet as Co-
                                           Conservators of the Estate of Britney Jean Spears
                                           on behalf of Defendant Britney Spears

                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record, who are deemed to have consented to

electronic service, are being served this 12th day of March, 2010, with a copy of this document

via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                    /s/ Charles Ainsworth
                                                    Charles Ainsworth




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